         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 1 of 18



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER
                                                           1:18-cr-00032-2-DLF
                v.

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

         Defendant.

     DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S RESPONSE
      TO THE GOVERNMENT’S MOTION FOR AN ORDER TO SHOW CAUSE WHY
       CONCORD SHOULD NOT BE HELD IN CIVIL CONTEMPT AND PROPOSED
                           CONTEMPT ORDER

        Defendant Concord Management and Consulting LLC (“Concord”), through counsel,

submits this Response to the Government’s Motion for an Order to Show Cause Why Concord

Should Not Be Held in Civil Contempt and Proposed Contempt Order.

I.      PRELIMINARY STATEMENT

        The government’s request for a civil contempt citation as it relates to Concord’s responses

to its early return trial subpoenas is fatally flawed in its premises and legally unjustified in its

demand for relief. There is no conceivable basis for a civil contempt finding on this record as a

matter of fact or law and no case cited by the government provides otherwise. Nor could it. Civil

contempt manifestly is not the all-purpose discovery tool the government makes it out to be, and

in a criminal case it does not entitle the government to the equivalent of an interrogatory. It is

instead reserved for flagrant disregard of court directives, in circumstances where that disregard is

supported by clear and convincing evidence. The government does not recite the controlling




                                                 1
         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 2 of 18



standard but the record related to Concord’s response to the trial subpoenas does not reach that

threshold; it does not come close.

       As to the government’s flawed premises, it makes its contempt demand without a prior

motion, meet and confer, or asserted violation of any express court order. And the primary

foundation for its demand — that Concord’s counsel did not thoroughly explain the bases for

Concord’s responses to the subpoenas — not only is not found in any court order but this Court

expressly rejected the notion that such an explanation could be required. The same goes for the

government’s alternative demand that a Concord witness should be required to appear to explain

Concord’s responses. No court order required an explanation of any kind, and this Court made it

clear that the subpoenas sought documents, not anything from Concord’s lawyers. If more were

needed, Concord did provide documents in its possession or control in response to one of the

subpoenas and a further explanation from Concord’s counsel on the responses made. And here

again, the government’s incredulity over the adequacy of the response, real or feigned, does not

reveal a failure to respond, much less a violation of any court order related to such a response.

Simply put, the basis for a contempt finding is a product of the government’s argument, not the

relevant record.

       Turning to the lack of legal support, the government does not even acknowledge where the

legal analysis must start: Civil contempt is an extraordinary remedy available only in the clearest

of cases where an express court directive plainly has been violated. The government’s cases are

not to the contrary and the controlling law establishes that there is no basis to bring the machinery

of civil contempt to bear here. Once again, the government’s belief that Concord’s counsel should

have explained its responses or that Concord should have done so as well is not part of any order

of this Court. Nor has Concord or its counsel breached any court order or in any way evinced a




                                                 2
         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 3 of 18



refusal to comply with one. Any citation for civil contempt in such circumstances would not just

be erroneous as a matter of law, it would be an abuse of the contempt remedy and its purpose. No

prosecutor in any context should be provided with the coercive power of contempt the government

seeks here.

       The government colors its flawed and legally erroneous demand with the suggestion that

contempt is particularly appropriate for the responses to the trial subpoenas because Concord’s

counsel made frivolous arguments and engaged in gamesmanship in making its objections. But

the record does not sustain that characterization either. Perhaps the government has forgotten that

the Court addressed Concord’s arguments on the merits without calling them frivolous. Perhaps

it also forgot that the Court agreed with Concord that the trial subpoena was overbroad in material

respects. Perhaps it likewise forgot that the issues raised by the trial subpoena occurred in a unique

context and were ones of first impression. Or perhaps the government just wanted to take an

unwarranted cheap shot at Concord’s counsel. Whatever it might be, Concord’s counsel’s

vigorous efforts to defend against oppressive prosecutorial tactics does not furnish any support for

a civil contempt citation either, and it would be a miscarriage of justice to find to the contrary as

the government urges. The government’s motion should be denied in all its particulars.

II.    BACKGROUND

       The government manufactures its contempt request out of whole cloth. It begins with a

timeline of the litigation in an apparent attempt to make it look like the responses to the subpoenas

are just the latest piece of foot-dragging by Concord’s counsel in an effort to delay the trial. That




                                                  3
         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 4 of 18



insinuation lacks record support on its face, but it has no credence at all as applied to the timeline

for the trial subpoena and Concord’s response.1

       The government issued its first early return trial subpoena on December 3, 2019, and after

Concord objected, on December 12, this Court agreed with Concord that categories four through

nine of the subpoena request were too broad. The Court authorized the subpoena with respect to

categories one through three in the government’s motion, and allowed Concord to file a motion to

quash the government’s renewed subpoena request. ECF 279. Consistent with that directive, the

government tried again and Concord’s motion to quash followed on January 3, 2020. Once again,

the Court agreed that certain categories of the government’s second subpoena request were too

broad in an order made on January 24. The government sent its first subpoena on January 27. The

government tried a third time and Concord replied, and it was not until February 7 that this Court

made its final order relating to the second subpoena, authorizing it with respect to categories four

through six. ECF 333. Concord responded timely to the subpoenas when issued for each category

requested.

       After Concord’s response to the first subpoena was made on February 11, 2020, Mr.

Dubelier and AUSA Kravis discussed the position of the defense, and Mr. Kravis indicated that he

would think about it and get back to Mr. Dubelier with any questions. Mr. Kravis quit his job a

few hours later. After that discussion, emails were exchanged between counsel concerning both

subpoenas. At no point in those exchanges did the government ask for a meet and confer, profess


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  More broadly, if there needs to be finger-pointing about delay, the government should take a hard
look in the mirror, starting with its protracted dance over supplying State Department information,
its purposeful delays in providing Giglio and Jencks material, its failure to respond to repeated
queries about its exhibit list and a missing search warrant, or its refusal, despite the Scheduling
Order, to provide a complete witness list. Concord has lived with these tactics from inception
without a thought being given to calling the government out for civil contempt. But if incredulity
over how an adversary responds to discovery is all that is needed, it will rethink the matter.


                                                  4
         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 5 of 18



to have any material issues, indicate that a motion was contemplated, or suggest that a contempt

proceeding was about to be initiated.

       Throughout this process, Concord complied with every Court deadline and there was no

violation of any Court order. Thus, when viewed in the proper context, any inordinate delay rests

with the government, which did not (apparently for tactical reasons) begin requesting a subpoena

until December 2019, and even then, made overbroad requests that required Court resolution.

More to the point, nothing in that entire sequence reveals any conceivable basis for a contempt

citation and the government’s effort to insinuate otherwise is meritless.

       The government’s motion also is based on a purported set of premises that do not appear

from the record, are contradicted by it, or both. For example, it makes much of Concord’s

counsel’s abject failure to explain how the documents were obtained, what search was conducted,

or why some documents were provided but not others. And it describes Concord’s counsel’s

clarification of what the responses meant in response to the government’s inquiries as duplicitous.

But Concord’s counsel is not a corporate representative, and there is no order from this Court

requiring any of this.

       Indeed, requiring Concord’s counsel to participate in the document collection process and

to explain how it was undertaken or what was or was not discovered and why plainly threatens to

abrogate the attorney-client privilege and likewise would force counsel to breach pertinent ethical

obligations by potentially becoming a witness against his own client. Moreover, even if counsel

could reveal information about the subpoena response without breaching the privilege or pertinent

ethical obligations, counsel would have no way of verifying the information provided. In light of

these extant Sixth Amendment and ethical issues, the Court properly ruled that Concord’s counsel

only needed to transmit the subpoena to Concord, which he did. No further involvement was




                                                 5
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 6 of 18



contemplated or considered, Jan. 24 Tr. at 22:24-23:4; 31:10-14, and that comports fully with

applicable case law. See United States v. Bergeson, 425 F.3d 1221, 1225-26 (9th Cir. 2005)

(affirming district court’s decision to quash Rule 17 subpoena where the government would have

compelled an attorney to offer testimony that would have irreparably damaged the attorney-client

relationship); United States v. Klubock, 832 F.2d 649, 654 (1st Cir. 1987) (where a grand jury

subpoena would potentially require an attorney to be a witness against his client and violate the

Rules of Professional Conduct, “counsel will possibly be required to resign as attorney for his

client. Not only the right to counsel of choice under the Sixth Amendment but also due process is

thus implicated, because the attorney/prosecutor is potentially given control over who shall be his

attorney/adversary”).

       The motion also expresses its indignation for Concord’s responses, making similar charges

that no explanation was given for why documents did or did not exist, or were or were not

obtainable. But no Court order required that either. Nor was there any expectation that Concord

would be providing a witness who could explain its responses. On the contrary, the Court made it

clear that was not contemplated either. Jan. 24 Tr. at 20:2-7. The two orders issued by this Court

in connection with the subpoenas do not change this calculus in any respect. They simply authorize

the government to subpoena the documents, no more and no less.

       What happened after Concord responded is equally significant for this motion: nothing.

In discussions with the government’s counsel, Concord’s counsel provided an explanation for the

responses based on his impressions. No issue was raised over that explanation, orally or in writing,

and after that, there was no request for a meet and confer, no indication that Concord had violated

any government order by responding to the subpoena, and no hint dropped that a contempt motion




                                                 6
          Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 7 of 18



was about to be made. Concord’s first and only opportunity to address the contempt issue came

in this brief.2

III.    ARGUMENT

        The government’s motion has no colorable justification and shows a manifest disregard of

the record and controlling law. No rule of this Court and no case it has cited authorizes a civil

contempt motion to be filed and granted simply because a party disagrees with the adequacy of a

response to a subpoena or the explanation of a party’s counsel for that response. Civil contempt

is reserved for extraordinary cases where there is an apparent and patent violation of a court order.

There is nothing like that here, only the government’s professed incredulity about Concord’s

counsel’s or Concord’s failure to explain the responses to the subpoena and the response itself.

But the government leaves out that Concord’s counsel is not a corporate representative, he is a

lawyer appearing on behalf of a client, see Fed. R. Crim. P. 43(b)(1), and he was not required to

make any explanation at all given the Court’s own directives. No order of this Court required

Concord to make such an explanation either. Nor can civil contempt be brought to bear over the

government’s displeasure where there has been no violation of a court order and every court order

has been complied with. The government demands deployment of a nuclear option to respond to

its proffered parade of horribles, but there is no parade and no horribles.

        Nothing in the government’s litany of cited cases alters this observation in any respect.

Those cases all have contempt-worthy records where court orders have been ignored after efforts


2
  In that regard, it is worth noting that Concord’s prior motion for an order to show cause on
criminal contempt followed a very different path than the government’s motion. ECF 129. Those
proceedings involved Concord’s motion, a briefing schedule with ordinary response times, a
hearing, supplemental briefing and a ruling. From filing to ruling took nearly two months. Here,
by contrast, the government made its motion and requested an immediate contempt finding and
this Court did not give Concord an opportunity to even respond to the government’s show cause
motion. It granted the motion and gave Concord just over 24 hours to formulate a response.


                                                  7
         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 8 of 18



to obtain compliance were made or court orders were ignored with an indication that no response

would be forthcoming. The fact patterns, in short, look like a situation where a contempt citation

would be called for. Importantly, however, they look nothing like this case. Nowhere is that more

true than in the government’s constant refrain—that a subpoena response must be accompanied by

a full scale explanation on how it came to be, the legal equivalent of an interrogatory response,

whether offered by the lawyer or the client. That is not a legal requirement in the subpoena itself,

nor is it required by any court rule or legal authority. It resides instead in the government’s

imaginative description of the cases it cites.

        If a contempt request is going to be made against a criminal defendant by a prosecuting

lawyer, one would and should expect that something extraordinary has occurred where it is clear

a court’s processes and directives have been trifled with or disregarded. There is nothing of that

ilk here, and the government is attempting to draw this Court down a path it should not and cannot

traverse.3

                A. Civil Contempt is an Extraordinary Remedy

        The government makes no effort to articulate the relevant standard for holding a party in

civil contempt, most likely because that standard is extraordinarily high and it cannot meet it. In

any event, when the standard is contemplated and considered, there is no basis for a contempt

finding on this record. Indeed, there is no basis for contempt proceedings at this stage because the

government has not even made a prima facie showing that Concord violated a Court order.




3
  To be clear, Concord is not suggesting that a response to a subpoena can never furnish the basis
for a civil contempt citation if the requisite facts are present and a willful violation of a court order
is shown. But there likewise is no relaxation of the controlling requirements for contempt where
a subpoena is issued and it is those requirements that are missing in this case.


                                                   8
         Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 9 of 18



       To be sure, the Court has an inherent power to enforce compliance with its orders through

the remedy of civil contempt. See SEC v. Bilzerian, 112 F. Supp. 2d 12, 16 (D.D.C. 2000). But it

may only do so where “[a] party … violates a definite and specific court order requiring him to

perform … a particular act or acts with knowledge of that order.” Id. (internal quotation marks

omitted). The party seeking a contempt citation must prove, by clear and convincing evidence,

that (1) court orders were in effect, (2) the orders required certain conduct by the non-moving

party, and (3) the non-moving party failed to comply with the court orders.4 Id.; see also Food

Lion, Inc. v. United Food & Comm. Workers Int’l Union, 103 F.3d 1007, 1016 (D.C. Cir. 1997)

(recognizing that the moving party caries the burden).

       Once a prima facie showing is made that the non-moving party did not comply with the

court orders, then the burden shifts to the non-moving party to produce evidence justifying non-

compliance. Bilzerian, 112 F. Supp. 2d at 16. The non-moving party “may defend against a

finding of contempt that he is unable to comply with the orders.” Id.; see also United States v.

Gewin, 759 F.3d 72, 76 (D.C. Cir. 2014) (acknowledging that “inability to comply with a court

order is a complete defense to a finding of civil contempt”). Given the “‘extraordinary nature’” of

a civil contempt citation, courts have imposed such remedy “‘with caution.’” See SEC v. Life

Partners, Inc., 912 F. Supp. 4, 11 (D.D.C. 1996) (quoting Joshi v. Professional Health Services,

Inc., 817 F.2d 877, 879 n. 2 (D.C. Cir. 1987)); see also Apple Corps. v. International Collectors




4
  In the prior contempt proceedings, this Court noted the same heavy burden for the exercise of a
still lesser sanction than civil contempt based on its inherent authority. The Court also noted that
such disciplinary action must be based on clear and convincing evidence of sanctionable
misconduct “tantamount to bad faith.” The Court likewise observed that in considering whether
to act, “restraint” was the order of the day, and even when action was required, the least restrictive
sanction should be used. ECF 148 at 20-21. The government, however, clearly does not believe
that evidence, restraint, or a least restrictive alternative are called for when Concord is concerned.


                                                  9
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 10 of 18



Soc’y, 15 F. Supp. 2d 456, 466 (D.N.J. 1998) (“Civil contempt is a ‘severe remedy.’”) (citations

omitted).

       Importantly, contempt is not warranted if there is any ground for doubt as to the

wrongfulness of the defendants’ conduct. Life Partners, 912 F. Supp. at 11. In Life Partners, the

SEC moved to hold defendants in contempt and to compel discovery. 912 F. Supp. at 5. The SEC

alleged that defendants continued to engage in the practice of selling unregistered securities in

violation of the registration and anti-fraud provision of federal securities laws. Id. By doing so,

the SEC argued that defendants violated the court’s prior orders requiring defendants to bring their

operations into compliance or, in the alternative, that they made a good faith effort to do

so. Id. The court denied the SEC’s motion, finding that “contempt is not warranted” because

defendants took steps toward complying with the court’s orders “so as not to display contempt for

this court and its mandate” and otherwise complied with the court’s orders. See id. at 11-12. In

this case, the record demonstrates that the government cannot meet the prima facie test for civil

contempt, nor has it even tried to do so.

               B. The Government Offers no Facts or Authority Warranting Contempt

                       1.      Counsel for Concord is under no obligation to certify the
                               subpoena response

       As noted, the government has not shown that Concord violated any order of this Court.

Illustrating this point, the government quotes the representation from counsel that “we gave you

all of the documents Concord gave to us so I think it is fair for you to conclude that they do not

have anything else related to the [subpoena requests],” Mot. 8 (emphasis added), and argues from

that that Concord “has not claimed that it complied with the two trial subpoenas,” see, e.g., Mot.

11. But counsel’s purported failure to provide an expression of compliance is not part of any Court

order, much less clear and convincing evidence that such a violation has occurred. And, with



                                                10
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 11 of 18



regard to the government’s expression of compliance refrain as a source of civil contempt, it is

best to stick with what we know.

       First, it ignores what Concord was ordered to do—namely, comply with the subpoenas

that the Court issued and counsel transmitted. Nothing more. See ECF Nos. 279, 333. Consistent

with this obligation, the Court on two occasions explicitly told counsel that they did not have to

engage with the subpoena response. Jan. 24, 2020 Tr. at 22:24-23:4 (“First, the subpoena is not

directed at defense counsel and would not require defense counsel to assist Concord in searching

for responsive documents ….”); 31:10-14 (“The subpoena does not mention defense counsel and,

other than transmitting the subpoena, requires no further involvement from defense counsel in

complying with the subpoena.”). And, presumably because the government knew that counsel

would not be able to provide any insight about a search conducted in Russia without counsel’s

involvement, the exhibits attached to the government’s motion reveal that the government never

asked him to provide a justification for why Concord provided the documents it did. 5

       Second, the cases the government cites do not support the notion that Concord has a legal

obligation to do any more than what it did—respond to the subpoena. Neither FTC v. Boehringer

Ingelheim Pharmaceuticals, Inc., 778 F.3d 142 (D.C. Cir. 2015), a civil case, nor In re Lusane No.

11-889, 2013 WL 1728990, at *8 (Bankr. D.D.C. Apr. 22, 2013), a bankruptcy case, stand for the

proposition that a subpoenaed party must “certify” or “represent” that its subpoena response is

complete. Indeed, neither decision even expressed an opinion about doing so, because they merely



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  The Court’s admonition that counsel should play no part in the subpoena response other than
transmitting it to Concord demonstrates that counsel was not Concord’s corporate representative
in responding to the subpoenas. Jan. 24 Tr. at 22:24-23:4; 31:10-14. Nevertheless, if this Court
has questions for Concord’s counsel on the steps taken to respond to the subpoena, counsel can
provide that information in a confidential, ex parte proceeding to the extent the disclosures can be
made consistent with the Sixth Amendment and counsel’s ethical obligations.


                                                11
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 12 of 18



set that fact out as background information. Boehringer Ingelheim, 778 F.3d at 147 (company

“certified compliance with the subpoena,” and withheld documents based on an assertion of

privilege); Lusane, 2013 WL 1728990, at *8 (in a bankruptcy discovery dispute, the court noted

“[t]he debtor’s counsel represented that the debtor produced all he had that was required to be

produced”). And Food Lion goes even farther afield, because that case involved evidence that the

subpoenaed party’s search for responsive documents was deficient. 103 F.3d at 1018. Here, by

contrast, there is no evidence of a deficiency beyond the government’s speculation, which is not

the required “clear and convincing evidence” of a failure to comply with the court’s Order.

Bilzerian, 112 F. Supp. 2d at 16.

       Third, the government’s chain of inferences that attempt—but fail—to bridge the gap

between unsupported speculation and violation of a court order goes something like this: our

investigation unearthed lots of documents we think should be in Concord’s possession and control;

the subpoena calls for many of those documents but Concord has not produced them; and what it

did produce (in categories one and two) is publicly available or government documents.6

Therefore Concord should be held in contempt for its deliberate non-responsiveness because it is

withholding documents in its possession or control it should have produced. Apart from what the

government’s investigation uncovered, however, this entire progression has no foundation except

in the government’s belief about what occurred. But a belief, no matter how strongly held, is not

a fact for which a finding could be made, much less clear and convincing evidence from which a

contempt finding could be made. And, nothing in the government’s litany shows a deliberate



6
 The government’s denigration of Concord’s production in response to categories one and two is
unfounded as well. It describes the entire production as “publicly available” or “government
documents.” But of the 22 documents, seven are internal to Concord and eight are government
documents that are not publicly available. There is, therefore, no inference to be drawn here either.


                                                 12
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 13 of 18



violation of an order of this Court. On this record, therefore, the government’s motion must fail

because nothing contemptuous has occurred.

                       2.     The government’s speculation about what documents Concord
                              may or may not have in its possession is not sufficient to warrant
                              a contempt citation

       The government’s next argument asks the Court to infer that Concord acted

contemptuously merely because it produced a limited number of documents in response to the trial

subpoenas. Mot. 12-14. The government, as noted, finds this incredible but the government’s

speculation and conjecture about Concord’s response is a bridge too far, for several reasons.

       First, to the extent that the government tries to create a “gotcha” moment by suggesting

that Concord did not produce the documents called for, there is nothing but unsupported

assumptions, followed by the sweeping assertion that it is “difficult to fathom that Concord has no

responsive records whatsoever.” Mot. 13. Yet none of this conjecture, despite all the incredulity

the government musters, amounts to “clear and convincing evidence” that Concord is somehow in

violation of an order of this Court. Irrelevant speculation will not support a contempt finding in

this context or any other.

       Second, none of the case law cited by the government supports the argument that a

contempt finding can be built solely on the government’s speculation. Start with Sigety v. Abrams,

632 F.2d 969, 974 (2d Cir. 1980), which involved a habeas petition from a state-court finding of

contempt. In affirming the finding, the Court of Appeals noted that the state court there (without

elaboration) relied “to some degree” on an “inference of continuing possession” based on the fact

that the subpoenaed party was the “sole proprietor” of the business for which the missing records

were sought. Id. at 970-71. Given the standard of review, a factual foundation existed to affirm

the finding and the court did not inquire further. Thus it is important to recognize what Sigety is

not: A holding that a “suggestion” by a party that documents have been withheld is tantamount to


                                                13
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 14 of 18



clear and convincing evidence that a federal court order has been violated. Sigety is, accordingly,

on point in none of its particulars.

       The government also cites Barnes v. District of Columbia, 289 F.R.D. 1, 25 (D.D.C. 2012),

for the proposition that the Court can make “reasonable deduction[s]” in deciding if other

documents exists. But the government appears confused, because Barnes involved a motion to

compel additional discovery—not a motion to hold the subpoenaed party in contempt. Id. The

government similarly misleads with its citation to Securities Investor Protection Corp. v. Executive

Securities Corp., 433 F. Supp. 470, 474 (S.D.N.Y. 1977), because the court in that case did not

find the subpoenaed individual in contempt. Instead, it was speaking prospectively about what

would happen if the subpoenaed individual failed to obey the court’s order directing him to comply

with a subpoena. There, the court recognized that the subpoenaed individual could testify “either

that he does not have possession of the subpoenaed records and is not the custodian of such records

or that he has another valid excuse for failing to produce them.” Id. Put another way, Executive

Securities is irrelevant here because, as noted, the government has not offered anything beyond

conjecture and speculation to support a finding that Concord could have produced other records.

       Finally, the government cites United States v. Goldstein, 105 F.2d 150, 152 (2d Cir. 1939)

for the proposition that Concord’s “patently meritless” arguments in opposition to the trial

subpoenas and the “likely relevance of these records” provides another ground for finding

contempt. Mot. 14. This is insulting—particularly because at least some of Concord’s arguments

won the day on the government’s first two attempts to obtain a trial subpoena, which reveals the

government’s real thoughts about the merit of the Court’s repeated denials of the subpoenas. But

more importantly, nothing about Goldstein—a nearly century-old, out-of-circuit case—is

applicable, because the witness in that case testified on no fewer than three occasions that he had




                                                14
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 15 of 18



the records in question before responding to a subpoena indicating that he did not have the records

in his possession. Id. at 151. No such clear and convincing evidence of possession has ever been

presented here, and as such, the government’s speculation does not rise to the level of proof

required to hold Concord in contempt.

                      3.      Concord does not owe an explanation for its production

       The government next argues that “[t]he burden … should shift to Concord to explain or

justify the non-production of records.” Mot. 14 (internal quotation marks omitted). This has it

exactly backwards. The burden still remains on the government—because, as Concord has

demonstrated above, it has not made the requisite showing by “clear and convincing evidence”

that Concord has violated any Court order. Instead, the government offers speculation and

conjecture about what other documents it suspects might exist, without evidence tying any of that

suspicion to Concord. Absent such a showing, the burden never shifts to Concord to justify its

subpoena response. Bilzerian, 112 F. Supp. 2d at 16.

       The 60 and 70-year-old cases the government cites confirm that it has put the cart before

the horse. In all three decisions, McPhaul v. United States, 364 U.S. 372 (1960); United States v.

Bryan, 339 U.S. 323 (1950); and United States v. Fleischman, 339 U.S. 349 (1950), the statements

quoted by the government arose in the context of a criminal contempt prosecution, where the

witnesses had been subpoenaed to appear before the House Un-American Activities Committee

and produce documents; appeared but refused to produce the documents; and were thus criminally

charged with contempt of the House of Representatives. See McPhaul, 364 U.S. at 375-76

(discussing defendant’s refusal to produce records and assertion of his Fifth Amendment

privilege); Bryan, 339 U.S. at 325-26 (recognizing that the defendant appeared before the

Committee and refused to produce records she admitted to possessing); Fleischman, 339 U.S. at

359 (recognizing that the defendant’s statement to the Committee “was, of course, a patent evasion


                                                15
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 16 of 18



of the Committee’s demands”). None of this aligns with what transpired in this case. This is not

a criminal contempt prosecution, no refusal to produce documents has occurred, and there is no

proof of a deliberate attempt to evade an order of this Court regarding the production of any

documents.

        To the extent that the government tries to connect what it calls Concord’s “‘good faith

effort to comply’” with the subpoena into grounds for contempt on the record it made, it has gone

off the rails completely. See Mot. 15 (quoting In re Various Grand Jury Subpoenas, 248 F. Supp.

3d 525, 527 (S.D.N.Y. 2017)). There is nothing in this record to substantiate a lack of good faith,

nor do any of the government’s cited cases suggest that its non-showing would meet the standard

for civil contempt. Its principal case of choice—Various Grand Jury Subpoenas, addressed a

“good faith” argument as part of a motion to purge contempt—not as a basis for a contempt citation

in the first instance. Id. at 526-27. Pigford v. Veneman, 307 F. Supp. 2d 51 (D.D.C. 2004), did

not even involve a subpoena request. But in any event, it, too, involved a motion to vacate

sanctions, not an effort to obtain a contempt citation in the first instance. Id. at 54-56. Finally, the

government cites Stewart v. O’Neill, 225 F. Supp. 2d 6 (D.D.C. 2002), for the proposition that a

contemnor need not have acted intentionally or in bad faith. Mot. 15. But this case, too, had

something the government here manifestly does not—a factual record related to the alleged failure

to comply with settlement terms that substantiated consideration of contempt in the first place. Id.

at 10-16.

        The end does not justify the means in this context. It is the government’s burden to supply

“clear and convincing evidence” supporting Concord’s violation of the express terms of an order

from this Court. That evidence does not exist and there is no basis to substitute attorney assertions

for what the record does not show.




                                                  16
        Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 17 of 18



               C. A Concord Representative Cannot Come to the United States

       A final word is needed on the government’s demand, and the Court’s apparent agreement,

that Concord should do the impossible by “send[ing] an appropriate representative to [the] hearing

on this matter who can address these issues.” Mot. 17. As noted, this Court made it clear on the

record that the subpoenas did not require Concord to produce any witnesses and nothing has

changed since that pronouncement was made. This Court also has noted that it cannot compel

anyone from Concord to make an appearance and the law has not changed in that regard either.

See Apr. 20, 2019 Hr’g Tr. at 58:9 (in context of discussion about the government’s proposed

resolution for showing sensitive discovery to Concord employees in the United States, the Court

acknowledged “I can’t force them to come”). In any event, this, quite simply, cannot be done in

the timeframe the government seeks to impose, so it cannot form the basis of a contempt citation.

See SEC v. Ormont Drug & Chem. Co., Inc., 739 F.2d 654, 656 (D.C. Cir. 1984) (recognizing that

“[a] contempt order should not issue if the court finds no willful disobedience but only an

incapacity to comply”). Here, a Concord employee would need to obtain a visa and make travel

arrangements in less than three days—an impossibility given waiting times for an interview for

visitor visas from Russia. See https://travel.state.gov/content/travel/en/us-visas/visa-information-

resources/wait-times.html, which indicates that the current appointment wait time for a visitor visa

in Moscow is 300 calendar days.

       Further, as noted above, if for some reason apart from this groundless motion some

explanation is needed, Concord’s counsel could provide it with appropriate safeguards from this

Court. See Note 5, supra.

       IV.     CONCLUSION

       For the reasons set forth above, the government’s Motion should be denied.




                                                17
       Case 1:18-cr-00032-DLF Document 364 Filed 02/28/20 Page 18 of 18



Dated: February 28, 2020                Respectfully submitted,

                                        CONCORD MANAGEMENT AND
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                                        By Counsel

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